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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF FLORIDA
                                  GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,

v.                                                           CASE NO. 1:88-cr-01007-MP-AK-2

WILLIE BUD REED, JR,

         Defendant.

_____________________________/

                                           ORDER

         This matter is before the Court on Doc. 1416, Motion for Reconsideration Pursuant to

Fed. R. Civ. P. 59(e) by Willie Bud Reed, Jr. Defendant requests reconsideration of the Court’s

order denying his motion to revisit. Rule 59(e) permits a motion to alter or amend a judgment.

Here, defendant requests reconsideration of an order, which is properly brought under Rule

60(b). Nevertheless, defendant fails to provide any justification for reconsidering the Court’s

order.

         Moreover, defendant’s motion attacks the sentence imposed by this Court and is properly

construed as a § 2255 motion. Defendant was previously denied collateral relief on the merits of

his § 2255 motion, and therefore he is barred from seeking such relief in this Court absent prior

certification from the Eleventh Circuit. See 28 U.S.C. §§ 2255(h), 2244(b)(3). Accordingly, it is

hereby

         ORDERED AND ADJUDGED:
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        1.       Defendant’s motion for reconsideration, Doc. 1416, is DENIED.


        DONE AND ORDERED this            9th day of September, 2011


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




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